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                  UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTICT OF MICHIGAN
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff/Respondent,
                                     Case No. 13-20495
v.                                   Honorable Paul D. Borman
                                     Magistrate Judge Elizabeth A. Stafford
ERIC WASHINGTON,

         Defendant/Petitioner.
__________________________________/

            ORDER GRANTING PETITIONER’S MOTION
           TO AMEND HIS MOTION TO VACATE AND/OR
        CORRECT SENTENCE UNDER 28 U.S.C. § 2255 [R. 218]

      Defendant-Petitioner Eric Washington, a federal prisoner, filed a

motion to vacate and/or correct his sentence pursuant to 28 U.S.C. § 2255

on March 2, 2015. [192]. Before filing its response, the Government

moved the Court to waive the attorney-client privilege with respect to the

communications between Washington and his attorney that related to

ineffective assistance of counsel claims Washing made in his § 2255

petition. [203]. The Court granted the motion. [R. 213].

      On May 21, 2015, before the Government filed a response to his

habeas petition, Washington filed a motion to amend his § 2255 petition

pursuant to Fed. R. Civ. P. 15(a). [R. 218]. The Honorable Paul D.

Borman referred the motion to amend to this Court for determination
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pursuant to 28 U.S.C. § 636(b)(1)(A). [R. 219]. The Government has not

filed a response to Washington’s motion to amend, and the time to do so

has passed.

      Rule 15 governs amendments to habeas corpus petitions. 28 U.S.C.

§ 2242 (habeas petitions “may be amended or supplemented as provided

in the rules of procedure applicable to civil actions”); see also United States

v. Saenz, 282 F.3d 354, 355-56 (5th Cir. 2002) (collecting cases).

Pursuant to Rule 15, the Court should freely give leave to amend when

justice so requires. Fed. R. Civ. P. 15(a)(2). In his motion to amend,

Washington seeks to add two ineffective assistance of counsel arguments;

his motion includes a memorandum of law in which the arguments are

presented.

      The Court GRANTS Washington’s motion to amend [R. 218] and

incorporates his additional arguments into his § 2255 habeas petition. The

Government must file a supplemental response to Washington’s additional

arguments by July 15, 2015. If either of Washington’s additional ineffective

assistance of counsel arguments requires further questioning of his prior

counsel, the Court orders that the previous order [R. 213] waiving the

attorney-client privilege with respect to the communications between

Washington and his attorney remains effective. The waiver must still be


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construed narrowly, only applying to communications relevant to

Washington’s arguments – which he has implicitly waived. [See id.].

      Furthermore, in its response to Washington’s habeas petition, the

Government asks the Court to “hold an evidentiary hearing to determine

whether Washington explicitly directed his counsel to file an appeal.” [R.

220, PgID 2558]. The Court preliminarily finds that an evidentiary hearing

is appropriate and schedules one for October 7, 2015 at 1:00 p.m.

Washington will attend the hearing by video conference, and Washington’s

prior attorney must attend for questioning. If the Court determines any

other issues require an evidentiary hearing, it will make appropriate

arrangements so that those matters are resolved at the same hearing.

      IT IS ORDERED.
                                            s/Elizabeth A. Stafford
                                            ELIZABETH A. STAFFORD
                                            United States Magistrate Judge
Dated: June 11, 2015

         NOTICE TO THE PARTIES REGARDING OBJECTIONS

      The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which

provides a period of fourteen (14) days from the date of receipt of a copy of

this order within which to file objections for consideration by the district

judge under 28 U.S. C. §636(b)(1). Unless ordered otherwise by the Court,




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the filing of an appeal to the District Judge does not stay the parties’

obligations in this Order. See E.D. Mich. LR 72.2.


                        CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s ECF
System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on June 11, 2015.

                                           s/Marlena Williams
                                           MARLENA WILLIAMS
                                           Case Manager




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